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BOARD MEETINGS                                                                          BD
                                                                                    (LOCAL)


Definition              The Board shall consist of nine members. In the event of the death
                        or resignation of one or more members, the Board shall remain de-
                        fined as a nine-member Board for the purposes of determining a
                        majority. [See BBB]
Meeting Place           The notice for a Board meeting shall reflect the date, time, and lo-
and Time                cation of the meeting.
  Regular Meetings      Regular meetings of the Board shall typically be held on the fourth
                        Tuesday of each month as posted. When determined necessary
                        and for the convenience of Board members, the Board Chairper-
                        son may change the date, time, or location of a regular meeting
                        with proper notice.
  Special or            The Board Chairperson shall call a special meeting at the Board
  Emergency             Chairperson’s discretion or on request by two members of the
  Meetings              Board.
                        The Board Chairperson shall call an emergency meeting when it is
                        determined by the Board Chairperson or four members of the
                        Board that an emergency or urgent public necessity, as defined by
                        law, warrants the meeting.
Agenda                  The deadline for submitting items for inclusion on the agenda is the
  Preparation           fifth business day before regular meetings and the fifth business
  Deadline              day before special meetings, except in an emergency in accord-
                        ance with the Texas Open Meetings Act.
  Submission of         The District President shall compile for review by the Board Chair-
  Topics                person all topics timely submitted by Board members, topics re-
                        quested by the Board, and topics suggested by the District Presi-
                        dent.
  A Board Member        The Board Chairperson and the District President shall confer re-
  May Request a         garding the proposed topics, and the Board Chairperson shall de-
  Subject Be Included   termine the topics for the official meeting agenda. The Board Chair-
  on the Agenda         person shall ensure that any topic the Board or two Board
                        members have requested be addressed are either on the meeting
                        agenda or scheduled for deliberation at an appropriate time in the
                        near future. The Board Chairperson shall not refuse to assign a
                        topic requested by two Board members to an agenda and, once
                        assigned, shall not have the authority to remove the topic from the
                        agenda without that Board member’s specific authorization.
  Consent Agenda        When the agenda is prepared, the Board Chairperson shall deter-
                        mine items, if any, that qualify to be placed on the consent agenda.
                        A consent agenda shall include items of a routine and/or recurring
                        nature grouped together under one action item. For each item
                        listed as part of a consent agenda, the Board shall be furnished
                        with background material. All such items shall be acted upon by

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BOARD MEETINGS                                                                         BD
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                     one vote without separate discussion, unless a Board member re-
                     quests that an item be withdrawn for individual consideration. The
                     remaining items shall be adopted under a single motion and vote.
Notice to Members    Members of the Board shall be given notice of regular and special
                     meetings at least 72 hours prior to the scheduled time of the meet-
                     ing and at least one hour prior to the time of an emergency meet-
                     ing.
Closed Meeting       Notice of all meetings shall provide for the possibility of a closed
                     meeting during an open meeting, as provided by law. The Board
                     may conduct a closed meeting when the agenda subject is one
                     that may properly be discussed in closed meeting. [See BDA]
Order of Business    The order of business for regular Board meetings shall be as set
                     out in the agenda accompanying the notice of the meeting. At the
                     meeting, the order in which posted agenda items are taken may be
                     changed by consensus of Board members present.
Rules of Order       The Board shall observe the parliamentary procedures as found in
                     Robert’s Rules of Order, Newly Revised, except as otherwise pro-
                     vided in Board procedural rules or by law. Procedural rules may be
                     suspended at any Board meeting by majority vote of the members
                     present.
  Voting             Voting shall be by voice vote or show of hands, as directed by the
                     Board Chairperson. Any member may abstain from voting, and a
                     member’s vote or failure to vote shall be recorded upon that mem-
                     ber’s request.
Minutes              Board action shall be carefully recorded by the Board Secretary or
                     clerk; when approved, these minutes shall serve as the legal rec-
                     ord of official Board actions. The written minutes of all meetings
                     shall be approved by vote of the Board.
                     The official minutes of the Board shall be retained on file in the of-
                     fice of the District President and shall be available for examination
                     during regular office hours.
Discussions and      Discussions shall be addressed to the Board Chairperson and then
Limitation           the entire membership. Discussion shall be directed solely to the
                     business currently under deliberation, and the Board Chairperson
                     shall halt discussion that does not apply to the business before the
                     Board.
                     The Board Chairperson shall also halt discussion if the Board has
                     agreed to a time limitation for discussion of an item, and that time
                     limit has expired. Aside from these limitations, the Board Chairper-
                     son shall not interfere with debate so long as members wish to ad-
                     dress themselves to an item under consideration.


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